                 Case: 5:21-cv-01034-JRA Doc #: 1-2 Filed: 05/18/21 1 of 2. PageID #: 12



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                     Northern District of Ohio

                      N.H. (A Minor)                             )
                            &                                    )
                   Tamika Harrell ("T.H.")                       )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                V.                                       Civil Action No. 5:21-cv-01034
                                                                 )
                      Dylan Soisson                              )
                              &
                                                                 )
                  The Village of Lakemore
                                                                 )
                                                                 )
                          Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION
   .           ,                   Dylan Soisson
T o. (Defendants name and address) p .O. Box
                                             888
                                   1400 Main Street
                                   Lakemore, Ohio 44250




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       Edward L. Gilbert
                                       Edward L. Gilbert Co., LPA
                                       One Cascade Plaza, Suite 825
                                       Akron, Ohio 44308
                                       egilbert@edwardlgilbert.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           SANDY OPACICH, CLERK OF COURT


Date:
        ----------
                                                                                      Signature of Clerk or Deputy Clerk
              Case: 5:21-cv-01034-JRA Doc #: 1-2 Filed: 05/18/21 2 of 2. PageID #: 13


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 Civil Action No. 5:21-cv-01034

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                           ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
